Case 1:24-cv-03880-LDH-LKE Document 8-8 Filed 06/19/24 Page 1 of 3 PageID #: 276




           EXHIBIT # 7
            Case
6/3/24, 11:49 AM 1:24-cv-03880-LDH-LKE                     Document 8-8 Filed    06/19/24 Page 2 of 3 PageID #: 277
                                                                        PayPal: Activities




                    We Serve Law LLC                                                                       −$265.00
                    April 5, 2024 . Invoice paid




      Paid with                                                    Seller info
      Chase Sapphire                                 $265.00We Serve Law LLC
      Preferred                                             800-637-1805
      (VISA Credit Card                                     info@weservelaw.com
      x-0654)
      You'll see "PAYPAL                                           Purchase details
      *WESERVE" on your                                            Service Fee               $100.00
      card statement.                                              Service of Process
                                                                   UNITED PARCEL
      Transaction ID                                               SERVICE GENERAL
      9YU267237F128793Y                                            SERVICES CO. C/O
                                                                   CORPORATION
                                                                   SERVICE
                                                                   COMPANY 80
                                                                   STATE STREET
                                                                   ALBANY, NY 12207

                                                                   Service Fee                $25.00
                                                                   Personal Service

                                                                   Service Fee                $80.00
                                                                   Printing Fee

                                                                   Service Fee                $40.00
                                                                   Travel Service Fee

                                                                   Amount                   $265.00


                                                                   Total                    $265.00




https://www.paypal.com/myaccount/activities/print-details/9YU267237F128793Y                                           1/2
            Case
6/3/24, 11:49 AM 1:24-cv-03880-LDH-LKE                     Document 8-8 Filed    06/19/24 Page 3 of 3 PageID #: 278
                                                                        PayPal: Activities

       Need help?
       If there's a problem, make sure to contact the seller through PayPal by
       October 2, 2024. You may be eligible for purchase protection




https://www.paypal.com/myaccount/activities/print-details/9YU267237F128793Y                                           2/2
